            Case 1:20-cv-01577-JGK Document 42 Filed 09/28/20 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      09/28/2020
LISA RIVERA,
                Plaintiff,
                                                     20-CV-1577 (JGK) (BCM)
       -against-
                                                     ORDER SCHEDULING SETTLEMENT
170 KINDSBRIDGE PISTILLI LLC, et al.,                CONFERENCE
                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       A settlement conference is scheduled before Magistrate Judge Barbara Moses on

November 30, 2020, at 2:15 p.m.

                   THE PARTIES ARE DIRECTED TO READ THIS
                   ENTIRE ORDER CAREFULLY. FAILURE TO COMPLY
                   WITH PRE-CONFERENCE RESPONSIBILITIES MAY
                   RESULT IN SANCTIONS.

       1.       Attendance of Parties, Trial Counsel, and Carriers Required. Each party must

attend the settlement conference, together with that party's lead trial attorney (see ¶ 6

below). Counsel must be fully knowledgeable concerning the facts of the case, relevant law, and

the progress of the case to date, including settlement discussions.

                a.      If a party is a corporation, union, or other non-natural person, it must

       attend the conference through a decision-maker with knowledge of the case and

       responsibility for determining the amount of any ultimate settlement; that is, a person

       who decides what settlement authority to give to counsel, not a person who has received,

       or must seek, authority from someone else within the organization.

                b.      If liability insurance is involved, each relevant carrier must attend the

       conference through a decision-maker with knowledge of the case and responsibility for

       determining the amount of the ultimate settlement (or the carrier's portion thereof).
            Case 1:20-cv-01577-JGK Document 42 Filed 09/28/20 Page 2 of 6




                c.    If a party fails to attend the settlement conference with all of the required

       persons, that party may be required to reimburse the other parties for their time and travel

       expenses or face other sanctions.

       2.       Pre-Conference Settlement Discussion Required. The purpose of a Court-

facilitated settlement conference is to settle the case – not simply to begin a settlement dialog.

The Court normally holds only one settlement conference per case. The Court therefore

requires that the parties conduct at least one good-faith settlement discussion, in person or

by telephone, and that each party convey to each opposing party at least one good-faith

settlement demand or offer, in advance of the deadline, set forth below, for submitting

confidential settlement letters. Past settlement negotiations may not be relied upon to

satisfy this requirement. Counsel should continue such discussions among themselves prior to

the conference so as to clarify issues, narrow disputes, and otherwise make the conference as

efficient and meaningful as possible.

       3.       Confidential Settlement Letter. No later than one week (seven calendar days)

before the conference, each party shall submit a confidential settlement letter to chambers by

email, addressed to Moses_NYSDChambers@nysd.uscourts.gov, marked "Confidential Material

for Use Only at Settlement Conference." Do not file the confidential settlement letter on ECF.

Do not send copies to adverse parties unless all parties have agreed to exchange their

letters. Settlement letters are limited to six pages, not including any exhibits, which are

permitted but should be kept to a minimum. Each letter should contain:

                a.    A summary of the relevant facts and law, focusing on the issues most

       pertinent to settlement. For example, if liability depends on an uncertain legal issue, the

       parties' letters should identify that issue and any key case law or statutes. Conversely, if

       liability is not seriously contested, the letters should focus on damages or other remedies.



                                                2
            Case 1:20-cv-01577-JGK Document 42 Filed 09/28/20 Page 3 of 6




                b.     A candid assessment of the strengths and weaknesses of the case,

       including affirmative defenses, together with counsel's realistic assessment of its

       settlement value or range. If there are any extra-legal impediments to settlement, note

       them here.

                c.     A brief description of settlement negotiations to date, including the date

       and time of the parties' last good-faith settlement discussion and the terms of each party's

       most recent demand or offer.

                d.     Any other information likely to be helpful to the settlement process.

       4.       Acknowledgment Form. On the same date that the confidential settlement letters

are due, each party shall submit the attached Acknowledgment Form to chambers by email, and

serve it on all other parties, identifying the individuals who will attend the settlement

conference. Do not file the Acknowledgment Form on ECF.

       5.       Conduct of the Conference. All proceedings at the settlement conference will be

confidential. Discussions are "off the record," and may not be used in discovery or at trial. The

Court will function as a mediator. Efficient use of this process requires that parties and counsel

be prepared for the conference and candid with the Court. At the outset of the conference each

party may make a brief presentation in the presence of all parties and counsel. Since the purpose

of the conference is to facilitate settlement – not to try the case – presenters are requested to

address their remarks directly to the opposing party and to focus on the issues most relevant to

settlement. Following the initial joint session, the Court will work separately with each side in

private. During these sessions the Court may address questions directly to the parties (in the

presence of their counsel) and will expect candid responses. In addition, all parties should be

prepared to disclose their legal fees and costs to date and their estimates of fees and costs




                                                 3
            Case 1:20-cv-01577-JGK Document 42 Filed 09/28/20 Page 4 of 6




through judgment. Additional joint sessions may be convened if likely to advance the goal of

settlement.

       6.       Remote Attendance Permitted Due to Coronavirus Risk. For the duration of

the COVID-19 public health emergency, and unless otherwise ordered by the Court, all

attendees may participate in the settlement conference telephonically, using the Court's

teleconferencing facilities. The parties are directed to call (888) 557-8511 on their scheduled

date, a few minutes before their scheduled time, and enter (a) the access code 7746387 and

(b) the security code that the Court will provide to you, by email, on receipt of all parties'

confidential settlement letters. The parties are advised that the Court's teleconferencing

facilities permit both group conferences and private caucuses with each party or group of

parties (and relevant counsel). If, after meeting and conferring among themselves, the

parties wish to arrange a different remote technology (e.g., videoconferencing), they must

request permission to use that technology by letter-motion, at least one week prior to the

date of the conference, and be prepared to discuss the capabilities and security features of

the proposed technology with the Court's staff. If the parties wish to conduct the settlement

conference in person, in the courthouse, they must so advise the Court of that request at

least one week prior to the date of the conference and must provide a precise headcount of

the expected attendees, as well as the number of breakout rooms that they believe will be

required.

       7.       Requests to Reschedule the Conference or Modify these Procedures. Requests to

reschedule the settlement conference, or to modify the page limits, attendance requirements, or

other provisions of this Order, must be made by letter-motion, filed via ECF in accordance with

the Individual Practices of Judge Moses, as soon as the need for the adjournment or modification




                                               4
            Case 1:20-cv-01577-JGK Document 42 Filed 09/28/20 Page 5 of 6




arises and in any event at least one week (seven calendar days) before the scheduled conference.

Requests for adjournment must include two proposed dates, acceptable to all parties and counsel,

for the rescheduled conference. Before proposing dates, counsel are advised to call chambers to

determine the Court's availability. Requests to modify the attendance requirements will be

granted only on a showing of significant hardship. If the parties settle the case prior to the

scheduled conference, they must promptly so inform the Court by letter, filed via ECF, stating

whether the settlement requires Court approval and, if not, how much time the parties require to

submit a stipulation of dismissal to the district judge.

       8.       No Effect on Other Deadlines. Neither the scheduling of a settlement conference

nor any adjournment affects the parties' other litigation deadlines or obligations.

Dated: New York, New York
       September 28, 2020
                                               SO ORDERED.



                                               ________________________________
                                               BARBARA MOSES
                                               United States Magistrate Judge




                                                  5
              Case 1:20-cv-01577-JGK Document 42 Filed 09/28/20 Page 6 of 6




                  ACKNOWLEDGMENT FORM-SETTLEMENT CONFERENCE

Counsel of record for each party must complete and sign this form and email it to the Court at
Moses_NYSDChambers@nysd.uscourts.gov, with copies sent simultaneously to all other parties, no later
than one week (seven calendar days) before the parties' scheduled settlement conference.

Name of Case: _______________________________________________________________________

Docket No.: _________________________ Date of Sett. Conference: __________________________

Name of Party Submitting this Form: _______________________________________ ☐ Pltf. ☐ Def.

1. Acknowledgment by Counsel. I am lead trial counsel for the party listed above. I will attend the
settlement conference in this action via teleconference, as will my client (if the client is a natural person),
or by a client representative (if the client is a non-natural person) who is a decision-maker with
knowledge of the case and responsibility for determining the amount of any ultimate settlement. I will
arrange for a translator if my client requires that service. I further acknowledge that if insurance carrier
approval, consent, or funding is required for my client to settle this action, a representative of each
relevant carrier, who is a decision-maker with knowledge of the case and responsibility for determining
the amount of any ultimate settlement (or the carrier's portion thereof) must also attend the conference.

2. Client Attendance. * Check one box:
☐ My client is a natural person and will attend the settlement conference via teleconference.
☐ My client is a corporation, union, agency or other non-natural person. The following individual will
attend the settlement conference via teleconference as a representative of my client:

Name: ______________________________________________________________________________

Title: ________________________________________________________________________________

3. Carrier Attendance.* Check one box:
☐ No insurance carrier approval is required for my client to settle this case.
☐ The following individual will attend the settlement conference via teleconference as a representative
of the following insurance carrier:

Name: ______________________________________________________________________________

Title/Name of Carrier: __________________________________________________________________


____________________________                        ____________________________________________
Date                                                Signature of Lead Trial Counsel

                                                    ____________________________________________
                                                    Print Name of Lead Trial Counsel


*
 If you represent more than one party or require approval from more than one carrier you must submit
attendance information for all clients and carriers.
